Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 1 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN THE MATTER OF THE SEIZURE OF THE Magistrate NO. 18-665

D MAIN NAME:
0 [UNDER SEAL]

toknowall.com

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEIZURE WARRANT
I, Michael McKeown, Special Agent of the Federal Bureau of Investigation

(“FBI”), being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

l. I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have
been so employed since January 1999. l am currently assigned to the Pittsburgh Division of the
FBI, Cyber Squad. In this capacity, I am charged with investigating possible violations of federal
criminal law, specifically those involved with cybercrimes. By virtue of my FBI employment, I
perform and have performed a variety of investigative tasks, including functioning as a case agent
on computer crime cases. I have received training in the conduct of computer crime investigations
l have also received training and gained experience in interviewing and interrogation techniques,
the execution of federal search warrants and seizures, and the identification and collection of
computer-related evidence In addition, I have personally participated in the execution of federal
search warrants involving the search and seizure of computer equipment.

2. I am an “investigative or law enforcement officer of the United States” within the
meaning of 18 U.S.C. § 2510(7), as a Special Agent of the FBI. As such, l am empowered to

conduct investigations of and to make arrests for offenses enumerated in 18 U.S.C. § 2516,

 

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 2 of 15

including 18 U.S.C. § 1343 (wire fraud), and for other federal felony offenses, such as 18 U.S.C.
§ 1030 (fraud and related activity in connection with computers).

3. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

4. 1 make this affidavit, pursuant to Title 21, United States Code, Section 853(f), for
issuance of a warrant (the “Seizure Warrant”) to seize the following domain name:

toknowall.com
(the “SUBJECT DOMAIN NAME”) for the purpose of criminal forfeiture

5 . As set forth below, there is probable cause to believe that the SUBJECT
DOMAIN NAME constitutes personal property that was used or intended to be used to commit
or to facilitate the commission of damage to protected computers, in violation of 18 U.S.C.
§§ 1030(a)(5)(A) and (B). Accordingly, the SUBJECT DOMAIN NAME is subject to criminal
forfeiture to the United States pursuant to 18 U.S.C. §§ 1030(i)(1)(A) and (j)(l). Pursuant to 21
U.S.C. § 853(f), the Government may request the issuance of a warrant to seize property subject
to forfeiture in the same manner as provided for in a search warrant.

6. The procedure by which the Govemment will seize the SUBJECT DOMAIN
NAME and redirect traffic attempting to resolve to that domain from a server controlled by those
conducting the criminal activity to a server controlled by the United States, is described herein and
set forth in detail in Attachment A to the Warrant and Order.

7. As set forth in greater detail below, the SUBJECT DOMAIN NAME is used to

control malicious software that has infected electronic devices (i.e., routers) in the United States

 

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 3 of 15

and elsewhere, in violation of 18 U.S.C. § 1030(a)(5)(A) and (B) (the “SUBJECT OFFENSES”).
RELEVANT DEFINITIONS
8. Based on my training and experience, 1 know the following:
Internet Domain Name System

a. A domain name is a simple, easy-to-remember way for people to identify computers
on the Internet. For example, “www.justice.gov” and “www.google.com” are domain names The
Domain Name System (“DNS”) is, among other things, a hierarchical convention for domain
names Domain names are composed of one or more parts, or “labels,” that are delimited by
periods, such as “www.example.com.” The hierarchy of domains descends from right to left; each
label to the left specifies a subdivision, or subdomain, of the domain on the right. The right-most
label conveys the “top-level” domain. For example, the domain name “www.example.com”
means that the computer assigned that name is in the “.com” top-level domain, the “example”
second-level domain, and is a web server (denoted by the “www” .

b. DNS servers are computers connected to the Internet that convert domain names
that are easy for humans to remember into Internet Protocol (“IP”) addresses, which are unique
machine-readable numeric addresses that computers use to identify each other on the Internet.
DNS servers are usually owned and operated by lnternet Service Providers to be used by their
customers Every computer connected to the Internet must be assigned an IP address so that
lntemet traffic sent from and directed to that computer is directed properly from its source to its
destination DNS servers can be said to "resolve" or "translate" domain names into IP addresses

c. For each top-level domain (such as “.com”), there is a single company, called a
“registry,” that determines which second~level domains resolve to which IP addresses For

example, the registry for the “.net,” and “.com” top-level domains is VeriSign, Inc. (“VeriSign”),

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 4 of 15

12061 Bluemont Way, Reston, Virginia. Registries are responsible for maintaining the registry
for each top-level domain. The responsibilities of the registry includes accepting registration
requests (whether from registrars or directly from domain name registrants), maintaining a
database of the necessary domain name registration data and providing name servers to publish
the zone file data (i.e. information about the location of a domain name) throughout the lntemet.

d. If an individual or business wants to purchase a domain name, he or she must
purchase it through a company called a “domain name registrar.” The registrar, in tum,
communicates this purchase to the relevant re gistry. The registrar also creates the associated DNS
records The registrar owns and manages the name servers, which are used to host the actual DNS
records

e. The individual or business who purchases or registers, a domain name is called a
“registrant.” Registrants control the IP address, and thus the computer, to which their domain
name resolves Thus, a registrant may easily move a domain name to another computer anywhere
in the world simply by changing the IP address at the registry.

Other Terms Relevant to Botnet Disruption Operations

f. A “router” is a networking device that forwards data packets between computer
networks Routers direct Internet traffic. A data packet is typically forwarded from one router to
another router through the networks that constitute an intemetwork until it reaches its destination

g. Based on open sources, a “network access storage (NAS) device” is dedicated
hardware device made up of several hard drives used to store data in a single location. A NAS
device offers an easy way for multiple users to access the same data, which is important in

situations where users are collaborating on projects

h. The term “sinkhole” is the redirection of network traffic, which is typically

 

 

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 5 of 15

malicious in nature, from its original destination to a new destination where its malicious function
will instead have a harmless or limited effect. The technique is most commonly used by
cybersecurity researchers to redirect infected computers in a botnet to specified research machines
to capture data about them. The technique is also occasionally used in conjunction with law
enforcement operations to take control of infected victim computers in a botnet away from cyber
criminals

i. “Photobucket” is a company that owns and operates an image hosting website of
the same name that can be accessed at www.photobucket.com. Photobucket offers cloud storage
for images, image file synchronization, image file editing and mobile phone applications to access
Photobucket services Photobucket allows users to store image files in the cloud. Files placed into
Photobucket are accessible through their website and mobile phone applications such as Google
Android and Apple iOS.

j. “Router malware” typically involves a two-stage infection process Stage l
malware is typically executed after the initial compromise of a router. Typically, the initial
compromise of routers can be achieved using a variety of techniques such as brute force attacks,
exploits, and misconfigurations. The Stage 1 malware will typically contain several methods to
locate and install Stage 2 malware. These methods can be in the form of an IP address and/or a
domain name, such as the SUBJECT DOMAIN NAME, that connects to a computer controlled
by the actor(s) on which Stage 2 malware is stored and awaiting deployment. Stage 2 malware
typically gives the attacker an array of capabilities that are not available with Stage 1, such as
stealing of files and software, deletion of files, elevation or escalation of privileges keylogging

and potential destruction of the victim file system.

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 6 of 15

SUMMARY OF EVIDENCE ESTABLISHING PROBABLE CAUSE
TO SEIZE THE SUBJECT DOMAIN NAME

Background Regarding the “Sofacv Group”

9. The United States is investigating unauthorized computer intrusions being
perpetrated by a group known to private cybersecurity investigators as the “Sofacy Group” (also
known as apt28, sandworm, x-agent, pawn storm, fancy bear and sednit). According to these
cybersecurity researchers the Sofacy Group is a cyber-espionage group believed to have
originated from Russia. Likely operating since 2007, the group is known to typically target
government, military7 security organizations and other targets of intelligence value, through a
variety of means

10. In some instances, the Sofacy Group utilizes a variety of malicious software (or
“malware”) to carry out its activities One type of malware attributed to the Sofacy Group is
“BlackEnergy.” The BlackEnergy malware started out as crimeware toolkit that allows the
malware to perform activities such as credential stealing, data exfiltration, and network traffic
monitoring In addition, BlackEnergy has capabilities that allow it to compromise specific types
of routers, specifically ARM and MIPS central processing units typically found in devices such as
horne routers, mobile phones and tablets

11. Additionally, BlackEnergy malware has been used in the targeting of critical
infrastructure. Based on Department of Homeland Security (DHS) and open source reporting,
BlackEnergy 2 was observed being used by the Sofacy Group in a sophisticated malware campaign
to target United States Industrial Control Systems (ICSs) between late 2011 through 2014. In
addition, BlackEnergy was used in the Ukrainian power grid attack in 2015 that targeted three

regional electric power distribution companies impacting approximately 225,00() customers The

attackers used the BlackEnergy malware to gain a foothold into the Inforrnation Technology (IT)

 

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 7 of 15

networks of the electricity companies The December 2015 incident was the first known instance
where a cyber-attack disrupted electric grid operations
“Sofacv Group” Malware Used to Compromise Victim Home Routers

12. The FBI learned of numerous possible victims throughout the United States, to
include the Westem District of Pennsylvania, that have been infected with a specific type of
malware targeting home routers and NAS devices The FBI and some private sector researchers
have named the botnet “VPN Filter.”

13. On August 21, 2017, FBI agents in Pittsburgh interviewed one of the victims
located in the Westem District of Pennsylvania. This individual was the owner of a home router
who confirmed that she had not provided authorization for any third parties to deploy malware
onto her router. She voluntarily relinquished her router to the agents In addition, the victim
allowed the FBI to utilize a network tap on her home network that allowed the FBI to observe the
network traffic leaving the home router. By focusing on the web traffic, the FBI observed the
victim router was trying to connect to the Photobucket website and access the specific Photobucket
account identified as “nikkireedl l”. Based on these observations, along with information obtained
from the FBI’s investigation, the FBI determined that the router was infected with malware.

14. On or about March 9, 2018, the FBI met with a reliable, credible Subject Matter
Expert (“SME #l”) working in cyber “threat intelligence.” The SME #1 advised investigating
agents that, during the course of his/her duties of gathering intelligence, he/she analyzed several

malware samples that he/she had recently download from VirusTotal.l Based on the SME #1’s

 

' VirusTotal is a website that aggregates many antivirus products and online scan engines to check for viruses that
the user's own antivirus may have missed, or to verify against any false positives. Anti-virus software vendors can
receive copies of` files that were flagged by other scans but passed by their own engine, to help improve their

software

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 8 of 15

analysis, the malware appeared to be targeting different types of routers, specifically ARM and
MIPS architectures, similar to the BlackEnergy malware utilized by the Sofacy Group described
above in relation to BlackEnergy.

15. Significantly, both malware samples analyzed by SME #1 attempted to contact
specific Photobucket accounts as part of a Command and Control (C2) channel,2 including the
Photobucket account “nikkireedll” to which the infected router in the Westem District of
Pennsylvania was attempting to connect as described above. Also of significance is the fact that
two of the malware samples analyzed by SME #l attempted to communicate with the SUBJECT
DOMAIN NAME as part of a secondary C2 channel.

16. Specifically, the forensic analysis conducted by SME #1 on the malware samples
showed that:

a. The malware sample with a SHA256 hash3 of
0e0094d9bd396a6594da8e21911a3982cd737b445f591581560d766755097d92
appeared to be Stage 1 malware that tries to communicate with one of four
Photobucket accounts (specifically the accounts nikkireedll, kmila302,
lisabraun87 and katyperry45) and the SUBJECT DOMAIN NAME, all of which

were being used as C2 channels

 

2 Command and Control channels allow actors to issue commands and to compromise systems (often lnternet-
connected computers of home users that then form armies of infected computers under the actors’ control known as
botnets). These communications can be as simple as maintaining a timed beacon or "heaitbeat" so that the operators
running the attack can keep an inventory of the systems they have compromised or use them for more malicious
actions, such as remote control or data exfiltration.

3 SHA-2 (Secure Hash Algorithm 2) is a set of cryptographic hash functions designed by the United States National
Security Agency (NSA). Cryptographic hash functions are mathematical operations run on digital data; by
comparing the computed "hash" (the output from execution of the algorithm) to a known and expected hash value, a

person can determine the data’s integrity.

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 9 of 15

b. The malware sample with a SHA256 hash of
50ac4fcd3fbc8abcaa766449841b3a0a684b3e217fc40935f`1 ac22c34058a9ec
appeared to be Stage 1 malware that tries to communicate with one of twelve
Photobucket accounts (eva_greenl, monicabelci4, katyperry45, saragrayl,
millerfred, lisabraun87, jeniferanistonl, amandaseyfriedl, nikkireedll, suwe8,
bob7301 and kmila302) and the SUBJECT DOMAIN NAME.

17. In addition to SME #1’s analysis, the FBI met with another reliable, credible
Subject Matter Expert (“SME #2”) working in cyber “threat intelligence” who specializes in the
reverse engineering of malware The SME #2 also conducted forensic analysis on the same two
malware samples from VirusTotal as analyzed by SME #1.

18. According to SME #2, his/her forensic analysis on the malware samples showed
that:

a. Each of the Stage l malware samples contains multiple Photobucket accounts that
are being used as the C2 channel. The malware randomly chooses one of the
Photobucket accounts

b. Once the Photobucket account is selected, the malware attempts to download an
image from the Photobucket account that contains an IP address encoded in the
EXIF4 data of the image where the Stage 2 malware is located.

c. If the Photobucket C2 channel fails, the malware will direct the infected router to
the SUBJECT DOMAIN NAME C2 channel in order to obtain the Stage 2

malware

 

4 EXIF is short for Exchangeable Image File, a format that is a standard for storing interchange information in
digital photography image files using JPEG compression

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 10 of 15

d. The encryption algorithm being used in the Stage 1 malware is a modified RC4
stream cipher.5

19. Both SME #1 and SME#2 stated the RC4 stream cipher (described above) has only
been observed before being used in the BlackEnergy malware, specifically BlackEnergy versions
2 and 3.6 As described above, the Sofacy Group has used the BlackEnergy malware in conjunction
with malicious cyber activities including ICS targeting.

20. A comparison of the malware samples identified by SME #1, SME #2 and the FBI,
to include the victim home router located in the Westem District of Pennsylvania (discussed
above), revealed that the malware samples were all fundamentally the same. F or example, the two
malware samples and the victim horne router in the Westem District of Pennsylvania all attempted
to communicate with the Photobucket account “nikkireedl 1.” Additionallly, the malware samples
used a number of the same C2 Photobucket accounts and the SUBJECT DOMAIN NAME.

The System That Resolves Communications to SUBJECT DOMAIN NAME

21 . According to open-source records when the actor(s) behind this malicious activity
registered the SUBJECT DOMAIN NAME, they used the services of “Internet Domain Service
BS Corp,” a domain name registrar based in the Bahamas. The domain name registrar reported
this registration to VeriSign, the designated registry operator for the “.com” top-level domain.
VeriSign updated its records to reflect that the name servers hosting the DNS records for the

SUBJECT DOMAIN NAME belonged to “swiftydns.com,” in this case “nsl .swif`tydns.com” and

 

5 A stream cipher is a method of encrypting text (to produce ciphertext) in which a cryptographic key and algorithm
are applied to each binary digit in a data stream, one bit at a time.

6 The primary modification to the RC4 Steam cipher used in the VPNFilter botnet malware is a shortcut that makes
for a simpler (and probably less secure) implementation It is unclear if the actor(s) intentionally introduced this
difference in order to break compatibility with other RC4 implementations, or if it was simply a mistake

10

 

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 11 of 15

“ns2.swiftydns.com”.

22. As part of this registration process the domain name registrar collects the contact
information for this domain and publishes it in publically accessible WHOIS records According
to the initial WHOIS records for the SUBJECT DOMAIN NAME, it was registered to “Hew
Donnatan” with an email address of “hew24l985@gmx.com” and address “88 Wressle Road,
Plumley, Plymouth, GB.” Through my training and experience, I know that this information is
not confirmed by the registrar and may be fictitious or inaccurate According to the current
WHOIS records for the SUBJECT DOMAIN NAME, all of the previous registry information is
the same except for the name servers hosting the DNS records which now reflects ones belonging
to “topdns.com”, in this case "ns-canada.topdnscom”, “ns-uk.topdns.com” and “ns-
usa.topdns.com”.

23. Upon seizure of the SUBJECT DOMAIN NAME, the government, like any
owner of a domain will have the ability to redirect intemet traffic attempting to resolve to that
domain to servers of the government’s choosing, in this case one or more servers operated by the
government As detailed in Attachment A, upon execution of the seizure warrant, the registry for
the SUBJECT DOMAIN NAME, VeriSign, will be directed to restrain the SUBJECT DOMAIN
NAME pending transfer of all right, title, and interest in the SUBJECT DOMAIN NAME to the
United States upon completion of forfeiture proceedings This ensures that changes to the
SUBJECT DOMAIN NAME cannot be made absent court order or, if forfeited to the United
States without prior consultation of the United States

24. As a result of the seizure of the SUBJECT DOMAIN NAME, the government

will redirect any victim router or other device that would attempt to communicate with this domain

name to one or more substitute servers which will be configured by the FBI to collect the source

ll

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 12 of 15

of the communication (e.g., the originating IP address), but not the content of such
communications (e.g., stolen data).

STATUTORY BASIS F()R SEIZURE AND FORFEITURE

25. The SUBJECT DOMAIN NAME is subject to criminal seizure and forfeiture
pursuant to the following statutory provisions

26. Title 18, United States Code, Section 1030(a)(5)(A) imposes criminal penalties on
whoever “knowingly causes the transmission of a program, information, code, or command, and
as a result of such conduct, intentionally causes damage without authorization, to a protected
computer.” Subsection 1030(a)(5)(B) imposes criminal penalties on anyone who “intentionally
accesses a protected computer without authorization, and as a result of such conduct, recklessly
causes damage.” Title 18, United States Code, Section 1030(e)(2)(B) defines a “protected
computer” to include any computer “which is used in or affecting interstate or foreign commerce
or communication.” Section 1030(e)(8) defines “damage” broadly, to include “any impairment to
the integrity or availability of data, a program, a system, or information.”

27. Pursuant to 18 U.S.C. § 1030(i)(1), a court,

“in imposing sentence on any person convicted of a violation of
this section, or convicted of conspiracy to violate this section, shall
order . . . that such person forfeit to the United States ~

(A) such person’s interest in any personal property that was used
or intended to be used to commit or to facilitate the commission of
such violation[.]”

28. Pursuant to 18 U.S.C. § 1030@)(1), for purposes of subsection (i), property subject
to forfeiture to the United States includes “[a]ny personal property used or intended to be used to
commit or to facilitate the commission of any violation of this section, or a conspiracy to violate

this section” and “no property right shall exist” in such property.

12

 

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 13 of 15

29. With respect to procedure, 18 U.S.C. § 1030(i)(2) specifies that “[t]he criminal
forfeiture of property under this subsection, any seizure and disposition thereof, and any judicial
proceeding in relation thereto, shall be governed by the provisions of . . . 21 U.S.C. § 853 . . .”
Title 21, United States Code, Section 853(f`), in tum, provides that:

The Government may request the issuance of a warrant authorizing
the seizure of property subject to forfeiture under this section in the
same manner as provided for a search warrant. 1f the court
determines that there is probable cause to believe that the property
to be seized would, in the event of conviction, be subject to
forfeiture and that an order under subsection (e) of this section
[relating to protective orders] may not be sufficient to assure the
availability of the property for forfeiture, the court shall issue a
warrant authorizing the seizure of such property.

30. Finally, pursuant to 21 U.S.C. § 853(1), any district court of the United States
“shall have jurisdiction to enter orders as provided in this section without regard to the location of

any property which may be subject to forfeiture under this section[.]”

SEIZURE PROCEDURE

31. Upon service of the Warrant and Order, VeriSign, the registry for the “.com” top-
level domain (the “SUBJECT REGISTRY”) shall be directed to change the authoritative name
server for the SUBJECT DOMAIN NAME as detailed in Attachment A to the Warrant and Order,
which is fully incorporated herein by reference

CONCLUSION

32. For the foregoing reasons 1 submit that there is probable cause to believe that the
SUBJECT DOMAIN NAME is used in and/or intended to be used in facilitating and/or
committing the SUBJECT OFFENSES. Accordingly, the SUBJECT DOMAIN NAME is
subject to forfeiture to the United States pursuant to 18 U.S.C. § 1030(i)(l)(A) and (j)(l) and 21
U.S.C. § 853, and 1 respectfully request that the Court issue a seizure warrant for the SUBJECT

13

 

 

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 14 of 15

DOMAIN NAME.
33. Because the warrant will be served on VeriSign who controls the SUBJECT
DOMAIN NAME, and thereafter, at a time convenient to it, will transfer control of the SUBJECT
DOMAIN NAME to the government, there exists reasonable cause to permit the execution of the
requested warrant at any time in the day or night.
34. Finally, and in order to protect the ongoing investigation and in consideration that

much of the information set forth above is not otherwise publicly available, 1 respectfully request

the seizure warrant be delayed until 30 days from the issuance of this warrant.

l
that this Affidavit be filed and kept under seal until further order of this Court and that notice of
l
j Respectfully submitted,

l

l

… 1 M\W
Michael McK%own

Supervisory Special Agent
Federal Bureau of 1nvestigation

 

Subscribed and sworn to before me
this 22nd day of May, 2018.

  

 

` NORABLE LI‘S/A PUPO LENIHAN
` UNITED STATES MAGISTRATE JUDGE
WESTERN DISTRICT OF PENNSYLVANIA

14

 

 

II.

III.

Case 2:18-mj-00665-LPL Document 1 Filed 05/23/18 Page 15 of 15

ATTACHMENT A

(Seizure Warrant and Order to VeriSign, Inc.)

SEIZURE PROCEDURE

The seizure warrant will be presented in person or transmitted via facsimile or email to
personnel of the registry identified in Section 11 (the “SUBJECT REGISTRY”). Upon
seizure of the domain identified in Section 111 below (the “SUBJECT DOMAIN
NAME”), the SUBJECT REGISTRY will take all steps necessary to restrain and lock
the domain at the registry level to ensure that changes to the SUBJECT DOMAIN
NAME cannot be made absent a court order, or if forfeited to the United States
Government, without prior consultation with the Federal Bureau of Investigation. All
name server fields will be changed to reflect the two domain names listed in this Section
below and the SUBJECT REGISTRY is directed to change the authoritative name
servers for the SUBJECT DOMAIN NAME to the following two domain names:

jocelyn.ns.cloudflare.com

plato.ns.cloudflare.com

THE SUBJECT REGISTRY

VeriSign, 1nc.
12061 Bluemont Way
Reston, Virginia 20190

THE SUBJECT DOMAIN NAME

toknowall.com

15

 

 

